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                          UNITED STATES DISTRICT COURT

                          MIDDLE DISTRICT OF LOUISIANA



CAMILA WARD                                                       CIVIL ACTION

VERSUS                                                            17-5-SDD-EWD

SECURE ASSET RECOVERY, INC.
AND ALAN ALVAREZ


                                      JUDGMENT

        For the written reasons assigned:

        Judgment is hereby entered in favor of Plaintiff, Camila Ward, and against

Defendants, Secure Asset Recovery, Inc. and Alan Alvarez.

        Plaintiff is awarded $2,000.00 in statutory damages under the FDCPA and the

FCCPA. Plaintiff is awarded attorney’s fees in the amount of $4,560.00 and costs in the

amount of $690.00.

        IT IS SO ORDERED.

        Signed in Baton Rouge, Louisiana on April 26, 2018.




                                        S
                                      JUDGE SHELLY D. DICK
                                      UNITED STATES DISTRICT COURT
                                      MIDDLE DISTRICT OF LOUISIANA




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